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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE:                                           §
                                                 §
HOUSTON REAL ESTATE PROPERTIES,                  §          CASE NO. 22-32998
LLC,                                             §             (Chapter 7)
     Debtor.                                     §
                                                 §
JOHN QUINLAN, OMAR KHAWAJA,                      §
AND OSAMA ABDULLATIF,                            §
          Plaintiffs,                            §          ADVERSARY NO. 23-03141
                                                 §
v.                                               §
                                                 §
HOUSTON REAL ESTATE PROPERTIES,                  §
LLC, et al.,                                     §
       Defendants.                               §

 PLAINTIFFS’ RESPONSE TO ALI CHOUDHRI’S EMERGENCY MOTION TO COMPEL
                     OMAR KHAWAJA [DOC. NO. 472]
           AND MISREPRESENTATION OF THE DEPOSITION RECORD

         Plaintiffs file this Response to Ali Choudhri’s Emergency Motion to Compel Omar

Khawaja [Doc. No. 472] and Misrepresentation of the Deposition Record.

         1.       On or about Monday, October 21, 2024, Ali Choudhri filed Document Number 245,

which is titled “Ali Choudhri’s Motion for the Recusal/Disqualification of Judge Jeffrey P.

Norman”. In it, Ali Choudhri (“Choudhri”) grossly misrepresented the deposition record of Omar

Khawaja, which necessitated a correction that Plaintiffs then made in Document Number 252.

However, given that Choudhri continues to misrepresent the deposition record, as he did here in

Document number 472, Plaintiffs are compelled to notify this Court of the misrepresentation by

Choudhri.

          2.      In Exhibit A, to Choudhri’s Emergency Motion to Compel, Choudhri only cites a

single page of deposition testimony. The reason for this was to conceal two points from this Court.

First, the cited deposition did not occur in this matter. Rather, it occurred in In re: Texas REIT,

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LLC, debtor, Chapter 11, Case No. 24-10120-smr; In the United States Bankruptcy Court for the

Western District of Texas – Austin Division. Attached as Exhibit 1 to this response are the proper

pages from said deposition, when utilizing a deposition in motion practice, to allow the Court to

discern this fact. However, the second concealment, by Choudhri, is sanctionable.

         3.       What Choudhri did was to leave out the questions and answers immediately

following what he cites and attaches to intentionally mislead the Court. The full question and

answer portion makes clear that Mr. Khawaja’s statement was referring to a written opinion issued

by Judge Norman and not an oral conversation. Here is what Choudhri put in his Motion to

Compel from the transcript:




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See Exhibit A to Choudhri’s Emergency Motion to Compel [Document Number 472]. Reading

this excerpt by itself gives the reader the impression that Choudhri is contending that Mr. Khawaja

had an oral conversation with Judge Norman.         However, that is untrue, and Mr. Khawaja

immediately made that clear in the questions and answers that Choudhri intentionally omitted in

his Motion to Compel. Here is what the actual and full record reflect.




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See Exhibit 1 to this document, which are portions of the deposition transcript from the In re:

Texas REIT, LLC, debtor, Chapter 11, Case No. 24-10120-smr; In the United States Bankruptcy

Court for the Western District of Texas – Austin Division. What is noteworthy here, is that Mr.

Khawaja makes clear—in no uncertain terms—that he did not talk personally with Judge Norman

and instead was referencing a written opinion issued by Judge Norman 1. See lines 2-13 on page

111 of Exhibit 1. However, this begs the question: Why would Choudhri leave this out of his

Motion to Compel and to Recuse? —unless he was trying to mislead the reader. This is a classic

Choudhri litigation tactic to mislead or misrepresent something. And he should be held to account

for such improper actions, which is why this document is being filed. However, there are other

reasons why the Motion to Compel should be denied.




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    Attached as Exhibit 2 is the referenced opinion.

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         3.       Mr. Khawaja has no personal knowledge nor evidence or testimony to offer that is

relevant to Choudhri’s Motion to Recuse other than what is in Exhibit 1. Mr. Khawaja was already

asked about this and provided his testimony. There is no need to re-ask him again. As we have

heard in our 4 days of previous hearings regarding Choudhri’s Motion to Recuse, there is no

evidence supporting recusal. Choudhri filed a frivolous Motion to Recuse to besmirch Judge

Norman’s good name and reputation without any evidence and making Mr. Khawaja testify again

would amount to more wasted time and resources. Mr. Khawaja has nothing relevant to add.

         4.       Choudhri now claims that Mr. Khawaja’s testimony is pertinent to his position and

that it is an emergency to have him testify but yet the facts do not support him. First, Choudhri

never stated that Khawaja was essential to his case until the 4th day of the hearing and months after

the filing. If Mr. Khawaja was important to Choudhri’s case, that would have been articulated

months and hearings ago. Further, if what Choudhri is now saying was true then he would have

made it a priority to have Mr. Khawaja attend the hearing and not wait until the night before the

5th day of hearings and months after filing his motion to recuse. The truth is that Choudhri is

desperate and grasping for anything he can latch onto now. The facts simply do not line-up with

what Choudhri is now telling the Court.

         5.       Finally, Mr. Khawaja was not served with a proper or legal subpoena. Attached as

Exhibit 3 is a true and correct copy of a document that Mr. Khawaja was given on or about

December 2, 2024. Note that it is unsigned by the clerk of the court and strictly for a hearing on

December 2, 2024. It is not for any other hearing nor is it a continuing subpoena. Accordingly,

Mr. Khawaja has not been served with process to appear at this hearing and should not be

compelled.




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                                           Conclusion

          Plaintiffs request for this Court to deny Ali Choudhri’s Motion to Compel and for such

other relief to which they may be entitled, including sanctions for filing a frivolous motion to

recuse.

                                                     Respectfully submitted,

                                                     HOOVER SLOVACEK LLP


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                                       CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been served
electronically upon each of the parties on the Court’s ECF Service List maintained in this case on
January 30, 2025, and on the parties noted below.

23-03141 Notice will be electronically mailed to:

 James Pope                             Jana Smith Whitworth
 Jennifer MacGeorge                     Office of United States Trustee
 Jetall Companies, Inc., Arabella PH    515 Rusk Street, Suite 3516
 3201 LLC, 9201 Memorial Dr. LLC,       Houston, Texas 77002
 2727 Kirby 26L LLC, Dalio Holdings     Jana.whitworth@usdoj.gov
 I, LLC, Dalio Holdings II, LLC,
 Houston Real Estate Properties, LLC    Timothy L. Wentworth
 [Debtor], Shahnaz Choudhri, Ali        Randy Williams
 Choudhri, Shepherd-Huldy               Houston Real Estate Properties, LLC
 Development I, LLC, Shepherd-          Okin Adams, LLP
 Huldy Development II, LLC, Galleria    1113 Vine St., Suite 240
 Loop Note Holder LLC                   Houston, Texas 77002
 The Pope Law Firm                      twentworth@okinadams.com
 6161 Savoy, Suite 1125
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                                                                By:
                                                                          T. Michael Ballases




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